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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

CALEB RODGERS                                                                                  PLAINTIFF

VS.                                                     CIVIL ACTION: 4:19-CV-00191-MPM-JMV

ROBERT SMART et al.                                                                        DEFENDANTS

                                                  ORDER

        This matter is before the court on the [37] motion of plaintiff to conduct discovery on

immunity-related issues.1 In the exercise of the court’s discretion, the motion is hereby granted

and the stay of discovery is hereby lifted for, among others, the following reasons: 1) this case is

currently set for trial in March of 2021 and the case management deadlines—including the

discovery deadline—in this case are swiftly approaching, and 2) the pending motion to conduct

discovery does not concern a qualified immunity defense to a claim raised pursuant to 42 U.S.C.A.

§ 1983 by an individual defendant. The Defendant, Cleveland School District, shall respond to the

discovery propounded to it [18] within thirty (30) days of today’s date.

          SO ORDERED this, the 17th day of July, 2020.

                                                     /s/ Jane M. Virden
                                                     UNITED STATES MAGISTRATE JUDGE




1
  The specific discovery plaintiff seeks to conduct consists of 13 interrogatories and 9 requests for production
propounded to defendant on February 21, 2020.
